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                                                                                    2019 Sep-16 PM 10:43
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

DAVID MILLAN,                           )
                                        )
      Plaintiff,                        )
                                        )
v.                                      ) 2:19-cv1131-ACA
                                        )
EL POBLANO MEXICAN                      )
RESTAURANT INC,                         )
    Defendant.                          )

                          INITIAL ORDER
                GOVERNING ALL FURTHER PROCEEDINGS

      All parties must thoroughly review the provisions of this order, which shall

govern all proceedings in this action, unless modified by written order for good

cause shown. By appearing in this case and practicing in this court, each attorney

or pro se party certifies to this court that he or she has read and is prepared to fully

comply with this court’s local rules. See www.alnd.uscourts.gov, Local Rules and

Orders.

I. DUTIES UNDER FEDERAL RULE OF CIVIL PROCEDURE 26(f)

      The court reminds the parties of their obligations under Federal Rule of Civil

Procedure 26(f) to confer within 30 days from the first appearance of a defendant,

for the purposes of considering the nature and basis of their claims and defenses;

the possibilities for a prompt settlement or resolution of the case; to make or
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arrange for the disclosures required by Federal Rule of Civil Procedure 26(a)(1); to

develop a proposed discovery plan that indicates the parties’ views and proposals

concerning all of the matters addressed in sub-paragraphs (1) through (4) of

Federal Rule of Civil Procedure 26(f); and in appropriate cases, to consider

whether to consent to the exercise of Magistrate Judge jurisdiction under 28 U.S.C.

§ 636(c).

         If the parties are unable to agree upon a date, time, or place for such

conference, the parties are hereby ORDERED to meet at 10:00 a.m. in the

chambers of the undersigned judge on the last Friday falling within the 30-day

period starting from the first appearance of a defendant. If use of the court’s

chambers is required, counsel should telephone chambers at least seven days prior

to the required meeting to advise the court. If a party is proceeding without

counsel, the obligation to telephone chambers rests upon counsel for the opposing

party.

A.       Form of Report

         The court expects a report of the parties’ planning meeting, in the general

format of Appendix III to this order, to be jointly filed with the Clerk of Court by

the parties within fourteen days after the meeting. The report also should contain a

synopsis of the case advising the court of the general claims and defenses of the




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parties. Should the parties disagree about an item in the report, the positions of the

parties as to that item should be clearly set forth in separate paragraphs.

       When preparing the report, be aware that the case should be ready for trial

within twelve months from the date of service of the complaint unless

extraordinary circumstances exist. Note that the burden lies on the parties to

explain why the case cannot be tried within that time frame.

       Upon receipt of the report, the court will set a Federal Rule of Civil

Procedure 16(b) scheduling conference if requested by the parties.

       The report must include a discovery plan stating the parties’ views and

proposals on:

       1) any issues about disclosure, discovery, or preservation of electronically

stored information, including the form or forms in which it should be produced;

and,

       2) any issues about claims of privilege or of protection as trial-preparation

materials.   If the parties agree on a procedure to assert these claims after

production (i.e., a “Clawback” Agreement), the report should include a statement

whether they want the court’s scheduling order to adopt their agreement under

Federal Rule of Evidence 502.




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B.    Compliance with HIPAA

      In accordance with the requirements of the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”), Pub. L. No. 104-191, 110 Stat. 1936

(1996), and regulations promulgated thereto, when “protected health information”

is relevant to the claims or defenses presented in an action, the party seeking such

“protected health information” shall present a valid authorization at the Rule 26

planning meeting to be executed by the party from whom such “protected health

information” is sought. The parties shall include in their report a deadline (specific

date) by which the authorization will be executed. The parties may file with the

court a motion for a “qualified protective order,” to which all parties stipulate, and,

contemporaneously with that filing, e-mail to axon_chambers@alnd.uscourts.gov,

a proposed “qualified protective order,” in substantially the form attached to this

order as Appendix I, to be entered by stipulation of counsel for all parties.

C.    Suitability of Action for Alternative Dispute Resolution

      All parties should give early consideration to the possibility of settlement to

avoid unnecessary costs and fees. The court requires that the attorneys for all

parties make an early analysis of the case along with their clients and be prepared

to discuss settlement at an early date. The parties shall also consider and discuss

whether this action may be suitable for mediation, whether under the court’s ADR




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plan or otherwise. In the absence of an objection by any of the parties, the court

will order this case to mediation before the submission of dispositive motions.

      Each attorney is directed to immediately forward a copy of the initial order

to his or her client. Plaintiff(s)’ attorney(s) are ordered to immediately discuss the

feasibility of settlement with Defendant(s)’ attorney(s).

D.    Commencement of Discovery

      The parties are authorized to commence discovery pursuant to the terms of

Federal Rule of Civil Procedure 26 immediately after the required report has been

filed. In cases removed from state court in which any discovery requests were

filed before such removal, those discovery requests shall be deemed to have been

filed on the date the parties file the report required by Federal Rule of Civil

Procedure 26(f). The court instructs the parties to review Local Rule 5.3 regarding

the non-filing of discovery materials in civil cases.

E.    Dismissal of Non-Served Defendants

      Any defendant who has not been served with a summons and complaint

within 90 days after the filing of the complaint (or within 90 days after the party

was added to the action) may be dismissed without further order of the court unless

the party on whose behalf such service is required shows good cause why service

has not been perfected.




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F.    Courtesy Copies

      For all submissions exceeding thirty (30) pages (including exhibits), the

filing party must submit, within three (3) business days of filing, an exact courtesy

copy of the submission, reflecting the CM/ECF case number, document number,

date, and page stamp on each page, to the Clerk’s office for delivery to chambers.

Deliveries are not accepted in the court’s chambers. The parties must also e-mail a

copy of any brief filed with the court to chambers in Microsoft Word format.

COURTESY COPIES SHOULD BE DOUBLE-SIDED TO CONSERVE PAPER

AND SECURELY BOUND IN A THREE-RING BINDER OR BY LARGE CLIP.

G.    Electronic Submissions

      1.      CM/ECF Record

      The official record of this case is maintained electronically pursuant to

CM/ECF. Documents must be filed through CM/ECF in PDF (Portable Document

Format), unless submitted by a party appearing pro se, in which case documents

should be filed with the Clerk of Court. Except in extraordinary circumstances, all

filings shall be consistent with the Court’s Civil Administrative Procedures Manual

found on the court’s website.1




      1
        The    Administrative    Procedures     Manual      is    available       at:
http://www.alnd.uscourts.gov/forms/civil-administrative-procedures-manual-
cmecf-1-2017.

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      2.    Protected Information

      Counsel are reminded to comply with the court’s Administrative Procedures

Manual for electronic filing with respect to redacting personal identifiers (e.g.,

Social Security numbers, drivers’ license numbers, birth dates, addresses,

telephone numbers, bank account and credit card information) and other personal

or sensitive information, in compliance with the E-Government Act.

      When filing material under seal, parties must comply with the

Administrative Procedures Manual.

      3. Required Electronic Submissions to Chambers

      Counsel must e-mail to chambers copies of all proposed orders in Word

Format.       The   address    for    the       undersigned   judge’s   chambers   is

axon_chambers@alnd.uscourts.gov. Ex parte communications are not allowed.

All communications to the chambers’ e-mail address must show a copy to all

opposing counsel or pro se parties.

II. ATTORNEY FEE SHIFTING CASES

      If a party anticipates that during or upon the completion of this action it may

for any reason (other than as a sanction under the Federal Rules of Civil

Procedure) seek an award of attorneys’ fees from the opposing party pursuant to

any statute or other law, the party must comply with the following requirements as

a precondition to any such award:



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(a)   Counsel must maintain a separate record of time with a complete and

accurate accounting of all time devoted to this particular action (to the

nearest 1/10 of an hour), recorded contemporaneously with the time

expended, for each attorney and with sufficient detail to disclose the nature

of the work performed in the action (i.e., not just “research” but the specific

matter being researched; not just “conference” but identity of persons

conferring and general subject matter of the conference).

(b)   If a claim will be made for services performed by any person not a

member of the bar, a separate time record shall be maintained for each such

individual in accordance with (a) above.

(c)   Counsel is directed to review and verify all attorney and non-

attorney time records no less than once per month.

(d)   Although the court does not require counsel to file a copy of the time

records before a request for a fee, counsel may file with the Clerk of Court

either a copy of the time record referred to in (a) above, or a separately

prepared document setting forth the information described in (a) above. If

counsel elects to file reports, they should be filed by the 15th day of the

month following the month in which the work was performed during the

pendency of the case. If counsel elects to file time reports, the material filed

may be filed under seal, subject to further court order, by placing the same in



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      a sealed envelope with the case name and number along with “ATTORNEY

      TIME RECORDS - FILE UNDER SEAL” written thereon. However, if the

      material is filed under seal, then the filing party must, at the time of such

      filing, also file (and serve a copy on opposing parties or their counsel) a

      document stating the total of the hours represented by the sealed filing,

      allocated as to total attorney hours and total non-attorney hours included in

      the current filing under seal. Upon the conclusion of this case, without

      further order the seal will be lifted as to all attorney fee materials filed under

      seal.

      (e)     A Petition for Attorney Fees shall be accompanied by Counsel’s

      Certification that all time records are accurate; that such records were

      prepared contemporaneously with the performance of the work for which the

      fees are claimed; and that counsel reviewed and verified all attorney and

      non-attorney time records no less frequently than once per month.

III. CASES THAT REQUIRE EEOC CHARGES

      If this case is one in which the filing of a charge of discrimination with the

Equal Employment Opportunity Commission or similar agency is required as a

prerequisite to suit, then the plaintiff(s) must file with the Clerk of Court at the

time of filing the disclosures required by Federal Rule of Civil Procedure 26(a)(1):

(a) a copy of all charges of discrimination filed with the EEOC and which form the



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bases of the action; and (b) a copy of the EEOC’s response to all such charges of

discrimination filed with that agency, including the notice of right to sue.

IV. MOTION PRACTICE

A.    Dispositive Motions

      Any motion(s) for summary judgment filed in this action must comply with

all requirements of Appendix II to this order. Any other dispositive motion must

comply with the requirements of Appendix II to the extent practicable.

B.    Other Motions

      All motions longer than 10 pages in length must comply with the

requirements in Appendix II to this order to the extent practicable. Before filing

any motion (other than a motion to remand), moving counsel shall contact the

opposing counsel and determine if counsel opposes the motion. All motions shall

include, in the caption under the case number, a notation that the motion is either

“Opposed” or “Unopposed.”        The first paragraph shall briefly summarize the

parties’ attempts to resolve the issue(s) and set forth areas of agreement and

disagreement. Failure of the parties to abide by these requirements can result in a

sua sponte denial of the motions for failure to comply.

      Parties must seek leave of the court before filing a motion about a discovery

dispute. If the motion for leave of the court is opposed, opposing counsel may file

a response within three days. The motion for leave of the court must specify the



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nature of the discovery dispute and the steps the parties have taken to resolve that

dispute. The motion need only include the facts relevant to the dispute. Legal

argument and/or legal citations are not necessary.

C.    Motion of Counsel to Withdraw

      Once an attorney has appeared as counsel for a party, he or she may not

withdraw from the action merely by filing a “notice of withdrawal,” but must file a

motion stating the specific grounds for withdrawal and seeking permission of the

court to do so. Any motion to withdraw which, if granted, would leave a party

unrepresented by counsel must include a certification that the moving attorney has

served a copy of the motion on his or her client and has informed the client of the

right to promptly file an objection with the court. The motion must also include

the notation, “Future notice to (name of party) is to be made at the following

address: (state last known address of the party).”

D.    Type Size

             DONE and ORDERED this September 16, 2019.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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                                   APPENDIX I

                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                              ________ DIVISION

AAA,                                          )
                                              )
       Plaintiff(s),                          )
                                              )
v.                                            )          Civil Action No. ___
                                              )
BBB,                                          )
                                              )
       Defendant(s).       )

                       QUALIFIED HIPAA PROTECTIVE ORDER

       The court GRANTS the parties the right, upon compliance with the

applicable discovery provisions of the Federal Rules of Civil Procedure and the

orders of this court, to obtain from any health care provider, health plan, or other

entity covered by the Health Insurance Portability and Accountability Act of 1996,

Pub. L. No. 104-191, 110 Stat. 1936 (1996) (“HIPAA”), any and all information

relating to the past, present, or future medical condition of any individual who is a

party to this action (or the decedent or ward of a party who sues in a representative

capacity), as well as any and all information relating to the provision of health care

to such individual and payment for the provision of such health care.

       This order authorizes any third-party who is provided with a subpoena

requesting the production of documents or commanding attendance at deposition



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or trial to disclose the Protected Health Information in response to such request or

subpoena. This order is intended to authorize such disclosures under the privacy

regulations issued pursuant to HIPAA. 45 C.F.R. § 164.512(e)(1)(i).

      The court expressly prohibits the parties from using or disclosing the

protected health information obtained pursuant to this order for any purpose other

than this action. Further, the court orders the parties either to return to the covered

entity from whom or which such protected health information was obtained, or to

destroy the protected health information (including all copies made), immediately

upon conclusion of this action. See 45 C. F. R. §§ 163.502(b); 164.512(e)(1)(v).

      DONE and ORDERED this ________ day of ________________, ______.



                                               __________________________
                                               Annemarie Carney Axon
                                               United States District Judge




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                                 APPENDIX II

                 SUMMARY JUDGMENT REQUIREMENTS

                                    NOTICE

This exhibit contains specific, mandatory instructions regarding the preparation

and submission of briefs and evidentiary materials in support of and in opposition

to potentially dispositive motions. These instructions must be followed explicitly.

Except for good cause shown, briefs and evidentiary materials that do not conform

to the following requirements may be stricken.


SUBMISSION DATES

      The parties to the above-styled action will be given a deadline for the filing

of dispositive motions.    Any motion for summary judgment and evidentiary

materials will be due on or before that deadline. A supporting brief will be due

within one business day of the motion and evidentiary materials being filed. The

court will enter a briefing schedule upon receipt of the brief in support of the

motion for summary judgment.

      To ensure that each party is afforded a full and fair opportunity to be heard,

the parties must deliver copies of briefs and evidentiary materials to opposing

parties without undue delay and, generally, on the same date such materials are

submitted to the court.
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SUBMISSIONS

      The parties’ submissions in support of and opposition to summary judgment

motions must consist of: (1) a brief containing, in separately identified sections,

(i) a statement of allegedly undisputed relevant material facts and (ii) a discussion

of relevant legal authorities; and (2) copies of any evidentiary materials upon

which the party relies. More detailed requirements for these submissions are

explained in the following sections.

REQUIREMENTS FOR BRIEFS

A.    Format

      Initial and response briefs are limited to thirty-five pages. Reply briefs are

limited to ten pages. Briefs that exceed twenty pages must include a table of

contents that accurately reflects the organization of the document. The table of

contents is not included in the page limit. The text of briefs must be double-spaced

(except for quotations exceeding fifty words, which may be block indented from

the left and right margins and single spaced) using fourteen point typeface,

preferably Times New Roman.

      The court will not consider arguments incorporated by reference to earlier

filings and will not consider substantive arguments made in footnotes. The court

may strike any brief that would exceed the page limits because of attempts to

incorporate by reference or include substantive arguments in footnotes.



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B.     Submissions

       The parties must electronically file the original brief. The parties also shall

e-mail to the court’s chambers (axon_chambers@alnd.uscourts.gov) such brief in

Word format, contemporaneously with the filing of the brief. For requirements

about the submission of courtesy copies of evidentiary materials, please see the

initial order.

C.     Binding

       The Clerk will not accept bound materials for filing, but the parties must

securely bind the court’s “courtesy copy” of the brief in a three-ring binder or large

clip for ease of use and to prevent inadvertent loss of pages. In addition, all pages

submitted in the court’s “courtesy copy” shall be three-hole punched.

D.     Manner of Stating Facts

       All briefs submitted either in support of or opposition to a motion must

begin with a statement of allegedly undisputed relevant material facts set out in

separately numbered paragraphs. Counsel must state facts in clear, unambiguous,

simple, declarative sentences.     Each statement of fact must be supported by

specific reference to the CM/ECF document and page number of the evidentiary

submissions.




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      1.     Moving Party’s Initial Statement of Facts

      The moving party shall list in separately numbered paragraphs each material

fact the movant contends is true and not in genuine dispute, and upon which the

moving party relies to demonstrate that it is entitled to summary judgment. Each

statement of fact must be followed by a specific reference to those portions of the

evidentiary record that the movant claims supports it.

      2.     Opposing Party’s Statement of Facts

      Each party opposing a summary judgment motion also must submit a

statement of facts divided as follows.

             a.    Response to Movant’s Statement of Facts

      The first section must consist of only the non-moving party’s disputes, if

any, with the moving party’s claimed undisputed facts. The non-moving party’s

response to the moving party’s claimed undisputed facts shall be in separately

numbered paragraphs that coincide with those of the moving party’s claimed

undisputed facts. Any statements of fact that are disputed by the non-moving party

must be followed by a specific reference to those portions of the evidentiary record

upon which the dispute is based. All material facts set forth in the statement

required of the moving party will be deemed to be admitted for summary judgment

purposes unless controverted by the response of the party opposing summary

judgment.



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            b.     Additional Undisputed Facts

      The second section may contain additional, allegedly undisputed facts set

out in separately numbered paragraphs that the opposing party contends require the

denial of summary judgment.        The second section of the opposing party’s

statement of facts, if any, shall be clearly designated as such. Each statement of

fact in this section shall be supported by its own evidentiary citation.       The

opposing party should include only facts that the opposing party contends are true

and not in genuine dispute.

            c.     Additional Disputed Facts

      The third section may contain additional, allegedly disputed facts set out in

separately numbered paragraphs that the opposing party contends require the

denial of summary judgment. The third section of the opposing party’s statement

of facts, if any, shall be clearly designated as such. Each statement of allegedly

disputed facts must be followed by specific reference to those portions of the

evidentiary record which both support and contradict the alleged fact.

      3.    Moving Party’s Reply

      The reply submission, if any, must include the moving party’s disputes, if

any, with the non-moving party’s additional claimed undisputed facts. The moving

party’s response to the non-moving party’s additional claimed undisputed facts

shall be in separately numbered paragraphs that coincide with those of the non-



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moving party’s additional claimed undisputed facts. Any statements of fact that

are disputed by the moving party must be followed by a specific reference to those

portions of the evidentiary record upon which the disputation is based.            All

additional material facts set forth in the statement required of the opposing parties

will be deemed to be admitted for summary judgment purposes unless controverted

by the statement of the movant.

REQUIREMENTS FOR EVIDENTIARY MATERIALS

      To facilitate the court’s requirement that the parties cite to the CM/ECF

document and page numbers, the parties must electronically file all evidentiary

materials (e.g., affidavits, exhibits, depositions, or other products of discovery)

relied upon in support of or opposition to summary judgment motions before they

file their briefs in support of or opposition to summary judgment. The parties may

file their briefs, with citations to the CM/ECF document and page numbers, one

business day after making their evidentiary submissions.

      Any party opposing a summary judgment motion may reference materials

included in the moving party’s initial evidentiary submission without resubmitting

that evidentiary submission. Parties should refrain from re-submitting additional

copies of the same documents.

      While the court reserves the right to consider evidentiary materials that are

not specifically referenced in the brief, no party has a right to assume the court will



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consider such materials. A specific reference must include the CM/ECF document,

page, and, when appropriate, line number.

A.    Organization

      Each volume of evidentiary materials must include a table of contents that

includes a brief narrative description of each document included: e.g., “Plaintiff’s

Exhibit 1, the Deposition of John Jones.” For ease of citation, each affidavit,

exhibit, deposition, or other product of discovery must be separately identified by a

capital letter or numeral (i.e., “Exhibit A” or “Exhibit 1”); and, if the exhibit

contains more than one page, each page must be separately numbered. Counsel are

directed to submit entire depositions, even if relying only on excerpts, including all

exhibits to the depositions. Deposition travel transcripts that are submitted as part

of the evidentiary record should include no more than four pages of deposition text

per 8½” by 11” page.

B.    Number of Sets Submitted

      The parties must electronically file one set of evidentiary materials. The

parties must submit a “courtesy copy” to the Clerk of Court for delivery to the

court’s chambers by the Clerk, an exact copy of the filed set of evidentiary

materials, reflecting the CM/ECF case number, document number, date, and page

stamp on each page, within three business days of electronic filing. Additionally,

the evidentiary material should include a tab corresponding to each document.



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Regarding courtesy copies of depositions, parties shall include the entire

deposition, in travel transcript format consisting of no more than four pages of

deposition text per 8 ½ by 11 inch page, as well all exhibits to the depositions with

sub-tabs, clearly labeled.

c.    Binding

      The Clerk will not accept bound materials for filing, but the parties must

securely bind the court’s “courtesy copy” of the evidentiary submission—in

separately numbered volumes, if necessary—for ease of use and to prevent

inadvertent loss of pages.




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                                 APPENDIX III

                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                               ______ DIVISION

[Name(s) of plaintiff(s)]             )
                                      )
      Plaintiff(s),                   )
                                      )
v.                                    ) Civil Action No.___
                                      )
[Name(s) of defendant(s)]             )
                                      )
      Defendant(s).                   )

                 REPORT OF THE PARTIES’ PLANNING MEETING

1.    The following persons participated in a Federal Rule of Civil Procedure
      26(f) conference on <Date> by <State the method of conferring>:

      <Name>, representing the <plaintiff(s)>
      <Name>, representing the <defendant(s)>


2.    Initial Disclosures.    The parties [have completed] [will complete by
      <Date>] the initial disclosures required by Rule 26(a)(1).

3.    Discovery Plan. The parties propose this discovery plan:

      <Use separate paragraphs or subparagraphs if the parties disagree.>

      (a)   Discovery will be needed on these subjects: <Describe>.
      (b)   <Dates for commencing and completing discovery, including
            discovery to be commenced or completed before other
            discovery.>
      (c)   <Maximum number of interrogatories by each party to another party,
            along with the dates the answers are due.>
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     (d)   <Maximum number of requests for admission, along with the dates
           responses are due.>
     (e)   <Maximum number of depositions by each party.>
     (f)   <Limits on the length of depositions, in hours.>
     (g)   <Dates for exchanging reports of expert witnesses.>
     (h)   <Dates for supplementations under Rule 26(e).>

4.   Other Items:

     (a)   <A date if the parties ask to meet with the court before a scheduling
           order.>
     (b)   <Requested dates for pretrial conferences.>
     (c)   <Final dates for the plaintiff to amend pleadings or to join parties.>
     (d)   <Final dates for the defendant to amend pleadings or to join parties.>
     (e)   <Final dates to file dispositive motions.>
     (f)   <State the prospects for settlement.>
     (g)   <Identify any alternative dispute resolution procedure that may
           enhance settlement prospects.>
     (h)   <Final dates for submitting Rule 26(a)(3) witness lists, designations
           of witnesses whose testimony will be presented by deposition, and
           exhibit lists.>
     (i)   <Final dates to file objections under Rule 26(a)(3).>
     (j)   <Suggested trial date and estimate of trial length.>
     (k)   <Other matters.>

Date: <Date>                        <Signature of the attorney or unrepresented
                                    party>
                                    ____________________________________
                                    <Printed name>
                                    <Address>
                                    <E-mail address>
                                    <Telephone number>
Date: <Date>                        <Signature of the attorney or unrepresented
                                    party>
                                    ____________________________________
                                    <Printed name>
                                    <Address>
                                    <E-mail address>
                                    <Telephone number>


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